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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

 

CERTIFICATE OF GOOD STANDING

1, KEITH THROCKMORTON, Clerk of the United States District Court
for the Middle District of Tennessee, do hereby certify that

MARTHA M. LAFFERTY

was duly admitted to practice in said Court on

October 01, 1999
and is in good standing as a member of the bar of said Court.

Dated at Nashville, Tennessee on October 25, 2016

KEITH THROCKMORTON, CLERK

2)

  
 
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CLERK OF THE SUPREME COURT

STATE OF TENNESSEE

I, James M. Hivner, Clerk of the Supreme Court, do hereby certify
that MARTHA MICHELE LAFFERTY is a licensed and practicing attorney of
the Courts of this State, having taken the oath as prescribed by law, is enrolled as
an attorney of this Court, and is in good standing. The Supreme Court ts the

Court of last resort in Tennessee.
Date of Enrollment: June 1, 1999

In testimony whereof, I have set my hand and affixed the seal of the

Court on this the 31st day of October, 2016.

James M. Hivner, Clerk

VB, henley

By: MaryBeth Linds&, DC.
